
76 N.Y.2d 843 (1990)
Steven J. Kumble, Plaintiff,
v.
Windsor Plaza Company, Defendant, Harold Herman, as Trustee, et al., Appellants, and Gail Sheehy, Respondent. (Action No. 1.)
Harold Herman, as Trustee, Appellant,
v.
Gail Sheehy, Respondent. (Action No. 2.)
Gail Sheehy, Respondent,
v.
Harold Herman, as Trustee, Appellant. (Action No. 3.)
Court of Appeals of the State of New York.
Submitted June 4, 1990.
Decided July 10, 1990.
Motion to dismiss the appeal granted and the appeal dismissed, *844 with $400 costs and $100 costs of motion, upon the ground that no appeal lies as of right from the unanimous Appellate Division order absent the direct involvement of a substantial constitutional question. Motion for sanctions denied.
